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                                                             April 8, 2022

 VIA ECF

 Honorable Joan M. Azrack
 United States District Judge
 Eastern District of New York
 United States District Court
 Long Island Courthouse
 100 Federal Plaza
 Central Islip, New York 11722

                                                     Re:     Wilber Campos v. Christopher Robin, Inc.
                                                             Civil Case No.: 21-cv-05460

 Dear Judge Azrack:

         We represent Defendants Christopher Robin, Inc. and Christopher Morisco in the above-
 referenced Fair Labor Standards Act (“FLSA”) matter. We write, jointly with Plaintiff’s counsel
 (collectively the “Parties”) to respectfully request that Your Honor approve the Parties’ proposed
 Settlement Agreement submitted as Exhibit A and dismiss this case with prejudice pursuant to the
 parties’ Stipulation (attached as Exhibit B). Defendants take no position with respect to Section II
 (attorneys’ fees) herein, except state that all Parties believe the settlement is a fair and reasonable
 resolution of the disputed issues under the supervision doctrine. Cheeks v. Freeport Pancake House,
 Inc., 796 F.3d 199, 203 (2d Cir. 2015) citing Lynn’s Food Stores, Inc. v. United States Dep't of
 Labor, 679 F.2d 1350, 1355 (11th Cir. 1982).

                  I.       Background and Procedural History.

         Defendants employed Plaintiff as a landscaper for a little over one year, from April 1, 2020
 until on or about May 7, 2021. Plaintiff commenced the instant action in the United States District
 Court Eastern District of New York, on October 1, 2021, alleging violations of the overtime
 provisions of the FLSA and New York Labor Law (“NYLL”), as well as technical violations under
 Section 195(1) and 195(3) of the NYLL against Defendants.1 See Dkt. 1. The Parties immediately
 began discussing settlement and presented bona fide disputes regarding Plaintiff’s hours worked and
 whether Plaintiff received all premium overtime due him. Defendants also provided a compliant
 NYLL 195(1) notice, and notified Plaintiff’s counsel that Plaintiff was party to an agreement to
 arbitrate the instant dispute.


 1
   As this court recently observed, the supervision requirement does not apply to resolution of New York Labor Law
 claims, which may be waived by private agreement. Tortomas v. Pall Corp., No. 18-CV-5098 (JMA)(SIL), 2020 U.S.
 Dist. LEXIS 97159 (E.D.N.Y. May 31, 2020) (Azrack, J).
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         Ultimately the Parties reached agreement on a total settlement of $13,000 which reflects a
 compromise on the disputed issues. For context, Defendants calculated Plaintiff’s potential overtime
 recovery – inclusive of liquidated damages – at approximately $6500. The enclosed Agreement
 (Exhibit A) is modeled after the agreement Your Honor approved in a prior case litigated by
 Plaintiff’s counsel here, Elmer Diaz v. Hand in Hand Family Services, Ltd. and Israel Benedek,
 2:20-cv-05298 (JMA)(AYS). The Parties respectfully request that Your Honor approve this FLSA
 settlement, and dismiss this action.

         Considering the value of Plaintiff’s FLSA overtime claim, the requirement that he arbitrate
 same, and the comparative expense of litigation, Plaintiff’s counsel believes that this settlement is a
 good result for Plaintiff, and it should be approved as fair. Plaintiff’s counsel also believes the
 settlement is fair and reasonable in light of the uncertainties associated with establishing Plaintiff’s
 precise amount of overtime hours. See Meigel v. Flowers of the World, NYC, Inc., 2012 U.S. Dist.
 LEXIS 2359, at *2-3 (S.D.N.Y. Jan. 9, 2012) (“If the proposed settlement reflects a reasonable
 compromise over contested issues, the court should approve the settlement.”). Defendants’ defenses
 also would have substantially limited recovery, even if Plaintiff were to ultimately prevail, with all
 the corresponding risks and delay.

        This settlement thus constitutes a classic compromise of contested issues, reached based
 on arm’s length negotiations between experienced FLSA counsel. The terms of the FLSA
 Settlement Agreement are in accordance with Cheeks.

                II.     Attorneys’ Fees Are Fair and Reasonable.

                 The Agreement calls for attorneys’ fees and costs in the amount of $ 4,711.33, which
 equals Plaintiff’s counsel’s actual costs plus a one-third attorneys’ fee. The costs were $567.00
 ($402.00 for filing fee and $165.00 for service of process). Fees of one-third of the settlement are
 routinely approved in FLSA actions, and the parties agree that such fees and costs are fair and
 reasonable. Contingency fees of one-third in FLSA cases are routinely approved in this Circuit.
 Santos v. EL Tepeyac Butcher Shop Inc., 15-CV-814, 2015 WL 9077172 at *3 (S.D.N.Y. Dec. 15,
 2015). This one-third contingency - agreed upon by Plaintiff in his retainer agreements and less
 than Plaintiff’s Counsel’s lodestar, as discussed below - is regularly approved in this circuit in
 FLSA cases. See Chandler v. Total Relocation Services, LLC, 15 Civ. 6791 (HBP), 2017 WL
 3311229, at *4 (S.D.N.Y. Aug. 2, 2017)(“Contingency fees of one-third in FLSA cases are
 routinely approved in this circuit.”); see also Najera v. Royal Bedding Co., LLC, No. 13-CV-1767
 (NGG)(MDG), 2015 WL 3540719, at *3 (E.D.N.Y. June 3, 2015) (“one-third contingency fees []
 are commonly accepted in the Second Circuit in FLSA cases.”); Kochilas v. Nat’l Merch. Servs.,
 Inc., No. 1:14-CV-00311 (LB), 2015 WL 5821631 (E.D.N.Y. Oct. 2, 2015) (awarding 33% of
 $60,000 in FLSA case, and stating that the “percentage-of-recovery method . . . is consistent with
 the trend in this Circuit.”); Rangel v. 639 Grand St. Meat & Produce Corp., 13 CV 3234 (LB),
 2013 WL 5308277, at *1 (E.D.N.Y., Sept. 19, 2013) (“This fee arrangement [of one third of the
 settlement amount plus costs] is routinely approved by courts in this Circuit.”).

         The attorney’s fee represents one-third (33.3%) of the total settlement amount after
 deducting for expenses and is reasonable. Plaintiff’s counsel researched and investigated the
 claims, conducted an in-depth and detailed inquiry regarding Plaintiff’s job duties, hours worked
 and compensation, commenced this action, prepared an assessment of damages, and negotiated the
 settlement. Due to the contingent nature of the case, Plaintiff’s counsel undertook these efforts
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 with no ultimate guarantee of compensation. Plaintiffs’ counsel was zealous in the pursuit of
 Plaintiff’s litigation objectives and secured a favorable result on the Plaintiff’s behalf.

                   III.   Conclusion.

           For the reasons above, the Parties respectfully ask the Court to approve their Negotiated
   Settlement Agreement as fair and reasonable under the circumstances of this case. The Parties
   also respectfully request that the executed Stipulation And Order of Dismissal With Prejudice,
   attached as Exhibit B, be “So Ordered” by the Court and that the Clerk be directed to close this
   case. In the event the Court has any questions regarding the Parties’ agreement or if the Court
   requires any additional information regarding the settlement, counsel for the Parties will make
   themselves available for a telephone or in-person conference.

                   We thank the Court for its time and attention to this application.

                                                         Respectfully submitted,

                                                         JACKSON LEWIS P.C.


       LAW OFFICE OF PETER A. ROMERO PLLC                            JACKSON LEWIS P.C.
       Attorneys for Plaintiff                                       Attorneys for Defendants
       490 Wheeler Road, Ste. 250                                    58 South Service Road, Ste. 250
       Hauppauge, New York 11788                                     Melville, New York 11747


       s/
  By:____________________________                                     s/
                                                                By:____________________________
      Peter A. Romero, Esq.                                         Noel P. Tripp, Esq.
       Matthew J. Farnworth, Esq.

  Dated: _________________________
          4/8/2022                                              Dated:__________________________
                                                                       4/8/2022




 NPT:dc

 cc: All Counsel of Record (via ECF)
 4888-2936-6536, v. 2
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       EXHIBIT A
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                      X

 WILBER CAMPOS, on behalf of himself
 and others similarly situated
                                                               Civ. Action No.: 21-cv-05460
                                        Plaintiff,
                                                               (JMA)(AYS)
                        -against-

 CHRISTOPHER ROBIN, INC. and
 CHRISTOPHER MORISCO,

                                     Defendants.




                                                      X



                  IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and
 Defendants that, the Parties’ SETTLEMENT AGREEMENT AND RELEASE having been found
 to constitute a fair and reasonable compromise of a bona fide dispute, this action is dismissed, with
 prejudice, in its entirety and with no award of attorneys’ fees, costs or disbursements to Plaintiff
 or Defendants by the Court.

       LAW OFFICE OF PETER A. ROMERO PLLC                       JACKSON LEWIS P.C.
       Attorneys for Plaintiff                                  Attorneys for Defendants
       490 Wheeler Road, Ste. 250                               58 South Service Road, Ste. 250
       Hauppauge, New York 11788                                Melville, New York 11747


  By:____________________________                          By:____________________________
      Peter A. Romero, Esq.                                    Noel P. Tripp, Esq.
      Matthew J. Farnworth, Esq.

  Dated: _________________________                         Dated:__________________________


                            SO ORDERED on this ___ day of _______, 2022,

                             ________________________________________
                                         U.S.D.J. AZRACK

 4869-7951-6681, v. 2
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       EXHIBIT B
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      UNITED STATES DISTRICT CoURT
      EASTERN DISTRICT OF NEW YORK


      WILBER CAMPOS, on behalf of himself
      and others similarly situated

                                                 Plaintiff,
                             -against                                      Civ. Action No.: 21-cv-05460

      CHRISTOPHER ROBIN, INC. and                                          (JMA AYS)
      CHRISTOPHER MORISC0,

                                               Defendants.



                                                                  X



                    IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and
      Defendants that, the Parties' SETTLEMENT AGREEMENT AND RELEASE having been found
      to constitute a fair and reasonable compromise of a bona fide dispute, this action is dismissed, with
      prejudice, in its entirety and with no award of attorneys' fees, costs or disbursements to Plaintiff
      or Defendants by the Court.

             LAW OFFICE OF PETER A. ROMERO PLLC                             JACKSON LEWIS P.C.
            Attorneysfor Plaintif                                           Attorneysfor Defendants
            490Wheeler        Road, Ste. 250                                58 South Service Road, Ste. 250
            Hauppahge, New York         11788                               Melville, New York1747


      By:                                                             By
             Matthew J. Farnworth, Esq.                                     Noel P. Tripp, Esq.
             Peter A. Romero, Esq.

       Dated: 9/Plie                                                  Dated:          1/27
                                  SO ORDERED        on   this   day of            2022,

                                                   U.S.D.J. AZRACK
      4869-7951-6681, v. 2
